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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Case No. 1:16-cv-01023-MSK-KMT

  SHANNON AMANN, MELISSA
  ZINTSMASTER and CHARLES
  ZINTSMASTER,

          Plaintiffs,
  v.

  NAVIENT SOLUTIONS, INC. and
  SALLIE MAE BANK,

          Defendants.



       UNOPPOSED JOINT MOTION FOR ORDER COMPELLING ARBITRATION AND
         STAYING ACTION PENDING ARBITRATION PURSUANT TO 9 U.S.C. § 3



          Plaintiffs Shannon Amann, Melissa Zintsmaster and Charles Zintsmaster (collectively,

  Plaintiffs) and Defendants Navient Solutions, Inc. f/k/a Sallie Mae, Inc. (NSI) and Sallie Mae

  Bank (SMB), by and through their undersigned counsel, jointly move for an order compelling

  arbitration and staying this action pending arbitration pursuant to 9 U.S.C. § 3.

          D.C.COLO.LCivR 7.1(a) Certification: NSI and SMB's counsel certifies she conferred

  with Plaintiffs' counsel, Michael Agruss, prior to filing this motion. Plaintiffs do not oppose

  entry of an order compelling arbitration and staying this case and join in this Motion.

          1.      Plaintiffs filed their First Amended Complaint (FAC) on June 17, 2016. (Doc.

  No. 18.)

          2.      NSI filed its Answer to the FAC on July 5, 2016. (Doc. No. 25.)
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         3.      SMB has not yet filed an Answer or responsive pleading.

         4.      Plaintiff Shannon Amann is the borrower on the following Loan Applications and

  Promissory Notes (the Notes) containing arbitration agreements (the Arbitration Agreements):

                     a. A Tuition Answer Loan Application and Promissory Note executed by

                        Plaintiff Shannon Amann on July 14, 2006 and co-signed by Plaintiff

                        Melissa Zintsmaster on July 12, 2006;

                     b. A Tuition Answer Loan Application and Promissory Note executed by

                        Plaintiff Shannon Amann on October 14, 2006 and co-signed by Plaintiff

                        Melissa Zintsmaster on December 14, 2006;

                     c. A Tuition Answer Loan Application and Promissory Note executed by

                        Plaintiff Shannon Amann on February 6, 2007 and co-signed by Plaintiff

                        Melissa Zintsmaster on February 6, 2007;

                     d. A Tuition Answer Loan Application and Promissory Note executed by

                        Plaintiff Shannon Amann on March 9, 2007 and co-signed by Plaintiff

                        Melissa Zintsmaster on March 9, 2007; and

                     e. A Tuition Answer Loan Application and Promissory Note executed by

                        Plaintiff Shannon Amann on July 9, 2007 and co-signed by Plaintiff

                        Charles Zintsmaster on July 9, 2007.

         5.      The Arbitration Agreements provide either Plaintiffs or NSI the right to elect to

  arbitrate—and require any other party to arbitrate—any claim, dispute or controversy between

  them that arises from or relates in any way to the Notes.




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         6.      A dispute exists between Plaintiffs and NSI related to the Notes as a result of

  Plaintiffs filing the FAC.

         7.      On July 19, 2016, NSI, through counsel, requested Plaintiffs proceed with

  arbitration in accordance with the Arbitration Agreements. Plaintiffs agree to arbitrate the

  parties' dispute, including their claims against SMB.

         8.      Plaintiffs, NSI and SMB agree this action should be stayed pending the parties'

  attempts to conduct informal settlement discussions and ultimately arbitration if those

  discussions do not result in a settlement.

         9.      Plaintiffs, NSI and SMB agree the filing of any demand for arbitration with the

  American Arbitration Association or other arbiter authorized under the Arbitration Agreements

  shall not be made until thirty (30) days after a stay is entered by the Court pursuant to this

  request.

         WHEREFORE, the Parties respectfully request the Court enter an order compelling

  arbitration of this dispute and enter an order staying all further proceedings in this action pending

  arbitration pursuant to 9 U.S.C. § 3.




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        Respectfully submitted this 22nd day of July, 2016.

                                                    s/ Taylor T. Haywood
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                                                    Attorneys for Plaintiffs

                                                    *E-signature approved by counsel via e-
                                                    mail dated July 22, 2016




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                                 CERTIFICATE OF SERVICE

         I hereby certify on the 22nd day of July, 2016, a true and correct copy of the foregoing
  UNOPPOSED JOINT MOTION FOR AN ORDER COMPELLING ARBITRATION AND
  STAYING ACTION PENDING ARBITRATION PURSUANT TO 9 U.S.C. § 3 was filed
  and served via the Court's CM/ECF system on the following:

  Michael S. Agruss, Esq.
  Samantha Craig, Esq.
  ARGUSS LAW FIRM, LLC
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  Chicago, IL 60640

  Counsel for Plaintiffs



                                                     s/ Nick Mangels
                                                     Nick Mangels




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